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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 DR. CRAIG SILBERSTEIN,
 Plaintiff,
 v.                                                             Case No. 6:23-CV-2274-ACC
 AMERITAS LIFE INSURANCE CORP.,
 Defendant.
 _____________________________________/

                                       MEDIATION REPORT

 Pursuant to the Notice of Mediation filed with the court, a mediation conference was scheduled. Pursuant
 to the Notice of Mediation on June 28, 2024 , at the mediation conference:

 ( xx ) Plaintiff/Counsel Appeared                        (     ) Plaintiff/Counsel did not Appear

 ( xx ) Defendant/Counsel Appeared                        (     ) Defendant/Counsel did not Appear

 PLAINTIFF'S ATTORNEY/FIRM:
 Alica Paulino-Grisham, Esq.
 DI Law Group
 3201 West Commercial Blvd., Suite 227
 Ft. Lauderdale, FL 33309


 DEFENDANT’S ATTORNEY/FIRM:
 Jeannine C. Jacobson, Esquire
 Maynard Nexxus
 9100 S. Dadeland Blvd., Suite 1500
 Miami, FL 33156

 RESULTS:
 ( xx ) Full Settlement Agreement

                                                    /s/ Jack L Townsend, Sr.
                                                  Jack L. Townsend, Sr., Mediator
                                                  Law Office of Jack L. Townsend, Sr., P.A.
                                                  P.O. Box 291339, Tampa, FL 33687
